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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

MARTHA WRIGHT
4206 12™ Place
Washington, DC 20017

ANNETTE WADE
4287 6 Street, SE
Washington, DC 20032

DOROTHY WADE
647 “G” Street, SE
Washington, DC 20003

ETHEL PEOPLES
555 14" Street, SE
Washington, DC 20003

EVELYN MINOR
2613 Bowen Road, SE, Apt. 201
Washington, DC 20020

MATTIE LUCAS
1210 Bohae Lane
Accokeek, MD 20607

LAURIE LAMANCUSA
63 N. Hatford Avenue
Youngstown, OH 44509

WINSTON BLISS
1241 S. 13™ Avenue
Hollywood, FL 33019

SHEILA TAYLOR
3038 Brightseat Road
Landham, MD 20764

GAFFNEY & SCHEMBER

1666 Connecticut Avenue, NW, Suite 225

Washington, DC 20009

M. ELIZABETH KENT

601 Indiana Avenue, NW, Suite 605

Washington, DC 20004

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FILED
FEB 16 2000

Civil Action No.

Class Action Complaint

Demand for Jury Trial

JUDGE: June L. Green
DECK TYPE: Civil General

DATE STAMP: 02/16/2000

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Case 1:00-cv-00293-TJK Document 1

CLARA MCCORMICK
3203 West Franklin Street
Evansville, Indiana 47712

SHONTE SARGENT
2350 Hillside
Indianapolis, Indiana 46218

ROSEMARY CROOM
1834 Roosevelt Avenue
Indianapolis, Indiana 46218

JOHN C. BROWN
617 Jewell
Columbus, Indiana 47203

BETTYE LOCKLEAR
3421 N. 21* Street
Milwaukee, Wisconsin 53206

DEDRE EMMONS
23910 West Loomis Road, No. 6
Muskego, Wisconsin 53150

KATHARINE GORAY
5451 Williamsburg Way, #106
Madison, Wisconsin 53719

JACKIE LUCAS — DCDC No. 197-604
CCA Northeast Ohio Detention Center
2240 Hubbard Road

Youngstown, OH 44505

ULANDIS FORTE — DCDC No. 254-437
CCA Central Arizona Detention Center
1155 North Pinal Parkway

Florence, AZ 85232

CHARLES WADE - DCDC No. 990-373
CCA Torrance Detention Facility

209 E. Alan Ayers Avenue

Estancia, NM 80716

Nome mee me eee eee ee nee ee Nee eee See! See mee” eee me Some” ee Same ee See Nee ee ee eee Nem eee eee ee ee ee ee ee eee! nme ee ee! Nee Ne ee ee” Se”

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EARL PEOPLES — DCDC No. 224-846
CCA Northeast Ohio Detention Center
2240 Hubbard Road

Youngstown, OH 44505

DARRELL NELSON — DCDC No. 234-583
CCA Central Arizona Detention Center
1155 North Pinal Parkway

Florence, AZ 85232

MELVIN TAYLOR — DCDC No. 208-941
CCA Central Arizona Detention Center
1155 North Pinal Parkway

Florence, AZ 85232

PETER BLISS — DCDC No. 191-399
CCA Torrance Detention Facility
209 E. Alan Ayers Avenue

Estancia, NM 80716

On behalf of themselves and all others
similarly situated

Plaintiffs

Vv.

CORRECTIONS CORPORATION OF
AMERICA

10 Burton Hills Boulevard

Nashville, Tennessee 37215

AMERICAN TELEPHONE & TELEGRAPH
295 North Maple Avenue
Basking Ridge, NJ 07920

EVERCOM INC.
8201 Tristar Drive
Irving, TX 75063

MICROWAVE COMMUNICATIONS, INC.-
WORLDCOM COMMUNICATIONS

1133 19 Street, NW

Washington, DC 20036

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)

PIONEER TELEPHONE COOPERATIVE )
P.O. Box 779 )
King Ficher, OK 73750 )
)

GLOBAL TELECOMMICATIONS LINK, )
2609 Cameron Street )
Mobile, Alabama 36607 )
)

Defendants )

)

COMPLAINT
PRELIMINARY STATEMENT

This class action is brought by family members, loved ones, legal counsel and others who
receive telephone calls from people incarcerated in prisons and jails owned and operated in the
United States by a private corporation, CORRECTIONS CORPORATION OF AMERICA
(hereafter CCA). Defendant CCA operates 82 prisons and jails in 26 states pursuant to
agreements with state and local governments under which persons under the jurisdiction and
control of those governments are transferred to a CCA facility for incarceration.

Plaintiffs seek to enjoin, declare illegal, and recoup damages resulting from conspiracies
between defendant, CCA, and defendant telephone companies, EVERCOM, INC. (hereafter
EVERCOM) MCI-WORLDCOM COMMUNICATIONS (hereafter, MCI-WORLDCOM),
PIONEER TELEPHONE CORPORATIVE (hereafter PIONEER), AMERICAN
TELEPHONE &TELEGRAPH (hereafter AT&T), and GLOBAL
TELECOMMUNICATIONS LINK (hereafter GLOBAL TEL LINK).

Defendant CCA has entered into a series of exclusive dealing agreements with these

telephone companies to provide inmate telephone service at CCA prisons and jails. Under these
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exclusive dealing agreements, plaintiffs cannot choose which telephone carrier to use to
communicate with people confined in CCA prisons. If they want to talk by phone they must use
the single telephone service the defendants provide. As a result, the defendants can manipulate
the plaintiffs to earn higher profits and prevent plaintiffs from using the telephone services of
their choice. This prohibition on choice cannot be justified by additional security features needed
in prison; indeed, many non-CCA prisons use high security telephone systems at ordinary profit
margins. Moreover, many bill-payer plaintiffs have pre-existing contracts for telephone services
with different carriers, but the defendants prohibit use of alternative contracts for telephone
service in CCA facilities.

In short, the defendants are using their position of power over prisoners to take advantage
of bill-paying plaintiffs over whom they have no legal power. They are using their control over a
“captive” audience to unjustly enrich themselves.

These unconscionable arrangement violates the plaintiffs' rights to speech and
association, and rights to foster and maintain family relations under the First Amendment to the
U.S. Constitution; their rights to due process and equal protection of law under the Fifth and
Fourteenth Amendments to the U.S. Constitution; their rights to unimpaired freedom to contract
under Article 1, § 10 of the U.S. Constitution. The exclusive agreements further violate the
Sherman Anti-Trust Act, 15 U.S.C. § 1 et. seg., the Communications Act, 47 U.S.C. § 151 ef
seq., and other laws of the United States and the District of Columbia. Plaintiffs in this lawsuit
also include a class of inmates in CCA facilities, and their rights are independently violated by

virtue of the actions of the defendants.
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JURISDICTION

1. Jurisdiction for the federal constitutional claims is conferred upon this Court by 28
U.S.C. §§ 1331 and 1343(3) and (4), and under 42 U.S.C. § 1983.

2. Jurisdiction for claims seeking declaratory and injunctive relief is pursuant to 28 U.S.C
§§ 2201 and 2202 and Rule 57 of the Federal Rules of Civil Procedure.

3. Jurisdiction for plaintiffs’ federal antitrust claims are conferred under the Sherman
Act, 15 U.S.C. §§ 2, 15 and 26, and 28 U.S.C. § 1337(a). The challenged actions of the
defendants are within the flow of interstate trade and commerce and have a direct, substantial
effect on trade and commerce.

4. Jurisdiction is also conferred under the federal Communications Act, 47 U.S.C. § 151
et seq. Section 207 permits persons injured by any violation thereunder to file suit in the United
States District Court, and § 206 allows for the recovery of damages and attorney fees.

5. This Court has supplemental jurisdiction, pursuant to 28 U.S.C. § 1367(a) over all
state and District of Columbia statutory and common law claims because they are so related to
the claims within the original jurisdiction of this Court that they form part of the same case or
controversy.

VENUE

6. Many plaintiffs reside in the District of Columbia and the defendants transact business
in the District of Columbia. Venue is proper for the United States District Court for the District
of Columbia pursuant to 28 U.S.C. §§ 1391(a), (b) and (c).

7. With particular regard to the federal antitrust claims, the interstate commerce described
herein is conducted into, within, and from the District of Columbia. Thus, venue is appropriate
pursuant to 15 U.S.C. § 22 and 28 U.S.C. §§ 1391 (b)(c) and 1392.

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JURY DEMAND

8. Plaintiffs demand trial by jury in this action on each and every one of their claims as

alleged herein.
PARTIES
Families, Lawyers and Other Bill Payer Plaintiffs

9. Plaintiff MARTHA WRIGHT is a resident of Washington, D.C. Her grandson,
Ulandis Forte, a resident of Washington, D.C., is presently incarcerated at Central Arizona
Detention Center, which is owned and operated by the defendant CCA in Florence, Arizona. At
present, the only way plaintiff communicates or can communicate by telephone with her
grandson is to accept calls placed by him and billed to plaintiff by defendant EVERCOM or
through debit cards her grandson must purchase at the prison commissary from EVERCOM.
EVERCOM is a party to an exclusive dealing agreement with defendant, CCA, governing
telephone services for people confined in the Central Arizona Detention Center. Prior to being
housed at the Central Arizona Detention Center, Mr. Forte had been housed in the Torrance
County Detention Facility, which is owned and operated by CCA, in September or October of
1998, and at the Northeast Ohio Correctional Center, which is owned and operated by CCA,
between May 1997 and September or October of 1998. Mrs. Wright accepted collect calls or
contributed to debit cards during the time of incarceration in CCA facilities.

10. Plaintiff DOROTHY WADE is a resident of Washington, D.C. Her son, Charles
Wade, a resident of Washington, D.C., is presently incarcerated at Torrance County Detention
Facility, which is owned and operated by the defendant CCA in Estancia, New Mexico. At
present, the only way plaintiff communicates or can communicate by telephone with her son is to
accept calls placed by him and billed to plaintiff by defendant EVERCOM or through debit

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cards her son must purchase at the prison commissary from EVERCOM. EVERCOM is a party
to an exclusive dealing agreement with defendant, CCA, governing telephone services for people
confined in the Torrance County Detention Facility. Prior to being housed at the Torrance
County Detention Facility, Mr. Wade had been housed in Northeast Ohio Correctional Center
from approximately November 1997 through February 1999. Mrs. Wade accepted collect calls or
contributed to debit cards during the time of incarceration in CCA facilities.

11. Plaintiff ANNETTE WADE is a resident of Washington, D.C. Her husband, Charles
Wade, a resident of Washington, D.C., is presently incarcerated at Torrance County Detention
Facility, which is owned and operated by the defendant CCA in Estancia, New Mexico. At
present, the only way plaintiff communicates or can communicate by telephone with her husband
is to accept calls placed by him and billed to plaintiff by defendant EVERCOM or through debit
cards her husband must purchase at the prison commissary from EVERCOM . EVERCOM is a
party to an exclusive dealing agreement with defendant, CCA, governing telephone services for
people confined in the Torrance County Detention Facility. Prior to being housed at the Torrance
County Detention Facility, Mr. Wade had been housed in Northeast Ohio Correctional Center
from approximately November 1997 through February 1999. Mrs. Wade accepted collect calls or
contributed to debit cards during the time of incarceration in CCA facilities .

12. Plaintiff ETHEL PEOPLES is a resident of Washington, D.C. Her son, Earl
Peoples, a resident of Washington, D.C., is presently incarcerated at Northeast Ohio Correctional
Center, which is owned and operated by the defendant CCA in Youngstown, Ohio. At present,
the only way plaintiff communicates or can communicate by telephone with her son is to accept
calls placed by him and billed to plaintiff by defendant EVERCOM or through debit cards her
son must purchase at the prison commissary from EVERCOM. EVERCOM is a party to an

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exclusive dealing agreement with defendant, CCA, governing telephone services for people
confined in the Northeast Ohio Correctional Facility. Mr. Peoples has been housed at the
Northeast Ohio Correctional Center since approximately May of 1997. During the entire period
of her son’s incarceration at that facility, the only way plaintiff could communicate by telephone
with him was to accept collect calls or contribute to debit cards permitted under the contract at
that time.

13. Plaintiff EVELYN MINOR is a resident of Washington, D.C. Her brother, also a
resident of Washington, D.C., is presently incarcerated at the Correctional Treatment Facility,
which is owned and operated by defendant CCA, in Washington, D.C. The only way plaintiff
communicates or can communicate by telephone with her brother is to accept calls placed by him
and billed to plaintiff by defendant EVERCOM. EVERCOM is a party to an exclusive dealing
agreement with defendant, CCA, governing telephone services for people confined in the
Correctional Treatment Facility.

14. Plaintiff MATTIE LUCAS is a resident of Accockeek, Maryland. Her son, Jackie
Lucas, a resident of Washington, D.C., fs presently incarcerated at Northeast Ohio Correctional
Center, which is owned and operated by the defendant CCA in Youngstown, Ohio. At present,
the only way plaintiff communicates or can communicate by telephone with her son is to accept
calls placed by him and billed to plaintiff by defendant EVERCOM or through debit cards her
son must purchase at the prison commissary from EVERCOM . EVERCOM is a party to an
exclusive dealing agreement with defendant, CCA, governing telephone services for people
confined in the Northeast Ohio Correctional Facility. Mr. Lucas has been housed at the Northeast

Ohio Correctional Center since approximately May of 1997. During the entire period of her
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son’s incarceration at that facility, the only way plaintiff could communicate by telephone with
him was to accept collect calls permitted under the contract at that time.

15. Plaintiff LAURIE LAMANCUSA is a resident of Youngstown, Ohio. Her fiancé,
Darrell Nelson, was moved from his home in Washington, D.C., to the Central Arizona
Detention Center, which is owned and operated by the defendant CCA in Florence, Arizona. At
present, the only way plaintiff communicates or can communicate by telephone with her fiancé is
to accept calls placed by him and billed to plaintiff by defendant EVERCOM or through debit
cards her fiancé must purchase at the prison commissary from EVERCOM . EVERCOM is a
party to an exclusive dealing agreement with defendant, CCA, governing telephone services for
people confined in the Central Arizona Detention Center. Prior to being housed at the Central
Arizona Detention Center, Mr. Nelson had been housed at the Northeast Ohio Correctional
Center from approximately May 1997 through October 1998. Ms. Lamancusa accepted collect
calls or contributed to the purchase of debit cards beginning in Decmeber 1997.

16. Plaintiff WINSTON O. BLISS is a resident of Hollywood, Florida. His brother,
Peter Bliss, is a resident of Olney, Maryland. Mr. Bliss was moved from the Washington, D.C.
area to the State of New Mexico to the Torrance County Detention Facility, which is owned and
operated by the defendant CCA. He is presently incarcerated in Estancia, New Mexico. At
present, the only way plaintiff communicates or can communicate by telephone with his brother
is to accept calls placed by him and billed to plaintiff by defendant EVERCOM or through debit
cards her son must purchase at the prison commissary from EVERCOM. EVERCOM is a party
to an exclusive dealing agreement with defendant, CCA, governing telephone services for people
confined in the Torrance County Detention Facility. Prior to being housed at the Torrance
County Detention Center, Mr. Bliss had been housed in defendant CCA’s Northeast Ohio

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Correctional Facility from approximately May 1997 through January 1999. Mr. Winston Bliss
accepted collect calls or contributed to the purchase of debit cards at that time.

17. Plaintiff SHEILA TAYLOR is a resident of Lanham, Maryland. Her brother-in-law,
Melvin Taylor, a resident of Washington, D.C., is presently incarcerated at Central Arizona
Detention Center, which is owned and operated by the defendant CCA in Florence, Arizona. At
present, the only way plaintiff communicates or can communicate by telephone with her brother-
in-law is to accept calls placed by him and billed to plaintiff by defendant EVERCOM or
through debit cards her brother-in-law must purchase at the prison commissary from
EVERCOM. EVERCOM is a party to an exclusive dealing agreement with defendant, CCA,
governing telephone services for people confined in the Central Arizona Detention Center. Prior
to being housed at the Central Arizona Detention Center, Mr. Taylor was housed in defendant
CCA’s Northeast Ohio Correctional Center, from approximately May 1997 through Seutember
or October 1998. Ms. Taylor accepted collect calls or contributed to the purchase of debit cards
at that time.

18. Plaintiff GAFFNEY & SCHEMBER, P.C. is a small civil rights law firm in the
District of Columbia with a substantial prisoners’ rights practice. GAFFNEY & SCHEMBER,
P.C. represents and assists clients confined in the D.C.’s Correctional Treatment Facility, the
Northeast Ohio Correctional Center, the Central Arizona Detention Center and the Torrance
County Detention Facility, all of which are owned and operated by defendant CCA. At present,
the only way the lawyers of GAFFNEY & SCHEMBER, P.C. can communicate by telephone
with clients in CCA prisons is to accept calls placed by their clients and billed to plaintiff by

defendants or through debit cards their clients must purchase at the prison commissary from

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EVERCOM. EVERCOM is a party to an exclusive dealing agreement with defendant, CCA,
governing telephone services for people confined in the above mentioned facilities.

19. Plaintiff M. ELIZABETH KENT, ESQ. maintains a law office in Washington, D.C.
She represents District of Columbia offenders in their criminal appeals. Ms. Kent, presently has a
client housed at the Torrance County Detention Facility, in Estancia, N.M., and a client housed
in the Central Arizona Detention Center. Both of these facilities are owned and operated by
defendant CCA. The only way she can communicate by telephone with her clients while they are
in prison is to accept calls placed by her clients and billed to plaintiff by EVERCOM or through
debit cards her clients must purchase at the prison commissary from EVERCOM. EVERCOM
is a party to an exclusive dealing agreement with defendant, CCA, governing telephone services
for people confined in the above mentioned facilities. In the past, plaintiff Kent has had clients
confined at defendant CCA’s Northeast Ohio Correctional Center, as well as other prisons
owned and operated by CCA, and in each case the only way she can communicate by telephone
with her clients while they are in prison is to accept calls placed by her clients and billed by the
telephone service provider for that prison at that time.

20. Plaintiff CLARA McCORMICK is a resident of Evansville, Indiana. Her son,
Joseph Daniel Floyd, was transported from his home state of Indiana to a correctional facility
owned and operated by the defendant, CCA. He is presently incarcerated in Hazard, Kentucky.
At the present time and At all relevant times, the only way plaintiff communicates or can
communicate by telephone with her son is to accept calls placed by him and billed to plaintiff by
defendant, PIONEER, which is a party to an exclusive dealing agreement with defendant, CCA,
governing telephone service for inmates at the Watonga facility. Prior to his incarceration at
Watonga, Ms. McCormick’s son was incarcerated at a CCA facility in Whiteville, Tennessee.

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During his incarceration at Whiteville Ms. McCormick accepted collect calls or contributed to
the purchase of debit cards.

21. Plaintiff SHONTE SARGENT is a resident of Indianapolis, Indiana. Her husband,
Dwight, was moved from his home state of Indiana and is presently incarcerated at the Watonga
facility, which is owned and operated by defendant CCA. At the present time and At all relevant
times, the only way plaintiff communicates or can communicate by telephone with her son is to
accept calls placed by him and billed to plaintiff by defendant, PIONEER, which is a party to an
exclusive dealing agreement with defendant, CCA, governing telephone service for inmates at
the Watonga facility. Prior to his incarceration at Watonga, he was incarcerated at a CCA prison
in Whiteville, Tennessee. Prior to his incarceration at Whiteville, he was incarcerated in the
Marion County, Indiana Jail, also operated by CCA. Ms. Sargent accepted collect calls or

contributed to the purchase of debit cards during her husband’s entire time of confinement in

CCA prisons.

22. Plaintiff ROSEMARY CROOM is a resident of Indianapolis, Indiana. Her son,
Dwight, is presently incarcerated at the Watonga facility, which is owned and operated by
defendant CCA. At the present time and At all relevant times, the only way plaintiff
communicates or can communicate by telephone with her son is to accept calls placed by him
and billed to plaintiff by defendant, PIONEER, which is a party to an exclusive dealing
agreement with defendant, CCA, governing telephone service for inmates at the Watonga
facility. Prior to his incarceration at Watonga, he was incarcerated at a CCA prison in
Whiteville, Tennessee. Prior to his incarceration at Whiteville, he was incarcerated in the Marion
County, Indiana Jail, also operated by CCA. Ms. Croom accepted collect calls or contributed to
the purchase of debit cards during her son’s entire time of confinement in CCA prisons.

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23. Plaintiff JOHN C. BROWN is a resident of Columbus, Indiana. His son, John L.
Brown, was moved from his home state of Indiana and is currently incarcerated at the Watonga
correctional facility, which is owned and operated by defendant CCA. At the present time and At
all relevant times, the only way plaintiff communicates or can communicate by telephone with
his son is to accept calls placed by him and billed to plaintiff by defendant, PIONEER, which is
a party to an exclusive dealing agreement with defendant, CCA, governing telephone service for
inmates at the Watonga facility. Prior to his incarceration at Watonga, he was incarcerated at a
CCA prison in Whiteville, Tennessee. Mr. Brown accepted collect calls or contributed to the
purchase of debit cards during his son’s entire time of confinement in CCA prisons.

24. Plaintiff BETTYE LOCKLEAR is a resident of Milwaukee, Wisconsin. Her
husband, Michael, was moved from his home state of Wisconsin and is currently incarcerated at
a correctional facility owned and operated by defendant CCA in Sayre, Oklahoma. At the
present time and At all relevant times, the only way plaintiff communicates or can communicate
by telephone with her son is to accept calls placed by him and billed to plaintiff by defendant
AT&T, which is a party to an exclusive dealing agreement with defendant, CCA, governing
telephone service for inmates at the Sayre facility. Ms. Locklear accepted collect calls or
contributed to the purchase of debit cards during her husband’s entire time of confinement in
CCA prisons.

25. Plaintiff DEDRA EMMONS is a resident of Muskego, Wisconsin. She
communicates by telephone with Jay Bennett, who is incarcerated at the Whiteville Correctional
facility in Nashville, Tennessee, which is owned and operated by defendant, CCA. At the
present time and At all relevant times, the only way plaintiff can communicate with Mr. Bennett
has been to accept collect calls placed by him and billed to the plaintiff by defendant, GLOBAL

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TEL LINK, a telephone company located in Mobile, Alabama, which is a party to an exclusive
dealing agreement with defendant, CCA, governing telephone service at the Whiteville facility.
26. Plaintiff KATHARINE GORAY is a resident of Madison, Wisconsin. She
communicates by telephone with her fiancé, who is incarcerated at the Sayre, Oklahoma facility
which is owned and operated by defendant, CCA. At the present time and At all relevant times,

the only way plaintiff is able to communicate with her fiance has been to accept collect calls
placed by him and billed to the plaintiff by defendant, AT&T, which is a party to an exclusive
dealing agreement with defendant, CCA, governing telephone service at the Sayre facility.
Prisoner Plaintiffs

27. Plaintiffs ULANDIS FORTE, CHARLES WADE, EARL PEOPLES,
DARRELL NELSON, MELVIN TAYLOR, JACKIE LUCAS, and PETER BLISS, are
presently, or have been at relevant times, incarcerated in correctional institutions operated by
defendant CCA at places such as the Northeast Ohio Correctional Center in Ohio, the Central
Detention Center in Arizona and the Torrance County Detention Facility in New Mexico. As a
result of the exclusive dealing agreements between the defendants, these plaintiffs have been
subjected to an unreasonable burden on their right to communicate with their families, loved
ones, lawyers and prisoner assistance organizations. In addition, the defendants have taken
excessive amounts of the prisoner plaintiffs’ personal assets by restricting access to less
expensive telephone services not controlled by the exclusive dealing agreements.

Defendants

28. Defendant CCA is a Tennessee corporation doing business in the District of
Columbia and throughout the United States. Pursuant to contracts it has entered into with
numerous state and local governments, CCA operates prisons and jails in twenty six states

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throughout the United States. Defendant CCA performs the governmental functions of a prison
and thus acts under color of state law. Defendant CCA has entered into a series of exclusive
dealing agreements with various telephone companies, including, but not limited to, defendants,
EVERCOM, MCI-WORLDCOM, PIONEER, AT&T and GLOBAL TEL LINK. These
exclusive contracts arrange for the provision of telephone services to inmates via collect or debit
cards under which bill payer and prisoner plaintiffs are required to pay exorbitant charges and
are forbidden to enter into contracts of their own with telephone services of their choice, even
though equivalent alternative competitive services are available.

29. Defendant EVERCOM, INC. is a Texas corporation engaged in the business of
providing telephone service to persons in the District of Columbia and throughout the United
States. EVERCOM has recently merged with and assumed liability for Invision Telecom,
Security Telecom, Mother of God Telephone Services and Ameritel. EVERCOM was and
continues to be a party to certain exclusive dealing agreements with defendant, CCA, under
which it provides the sole means for people in a CCA prison to place telephone calls to the
outside world. At all relevant times, EVERCOM performs governmental functions and/or is a
party to a contract or conspiracy with others performing governmental functions and thus acts
under color of state law.

30. Defendant PIONEER is an Oklahoma corporation engaged in the business of
providing telephone service to persons in the District of Columbia and throughout the United
States. At various times, it was and continues to be a party to certain exclusive dealing
agreements with defendant, CCA, under which it provides the sole means for people in a CCA

prison to place telephone calls to the outside world. At all relevant times, PIONEER performs

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governmental functions and/or is a party to a contract or conspiracy with others performing
governmental functions and thus acts under the color of state law.

31. Defendant MCI-WORLDCOM is a Maryland corporation engaged in the business
of providing telephone service to persons in the District of Columbia and throughout the United
States. Recently, Microwave Communications Inc. (MCI) merged with L.D.D.S. and Worldcom
Corporation, and the new entity, MCI-WORLDCOM, assumed the liabilities of these
companies. MCI-WORLDCOM was and continues to be a party to certain exclusive dealing
agreements with defendant, CCA, under which it provides the sole means for people in a CCA
prison to place telephone calls to the outside world. At all relevant times, MCI-WORLDCOM
performs governmental functions and/or is a party to a contract or conspiracy with others
performing governmental functions and thus acts under the color of state law.

32. Defendant GLOBAL TELECOMMICATIONS LINK is an Alabama corporation
engaged in the business of providing telephone service. At various times, it was and tontinues to
be a party to certain exclusive dealing agreements with defendant, CCA, under which it provides
the sole means for people in a CCA prison to place telephone calls to the outside world. At all
relevant times, GLOBAL TELECOMMICATIONS LINK performs governmental functions
and/or is a party to a contract or conspiracy with others performing governmental functions and
thus acts under the color of state law.

33. Defendant AT&T, is a New Jersey corporation engaged in the business of providing
telephone service to persons in the District of Columbia and throughout the United States. At
various times, it was and continues to be a party to certain exclusive dealing agreements with
defendant, CCA, under which it provides the sole means for people in a CCA prison to place
telephone calls to the outside world. At all relevant times, AT&T performs governmental

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functions and/or is a party to a contract or conspiracy with others performing governmental
functions and thus acts under the color of state law.
CLASS ACTION ALLEGATIONS

34. Plaintiffs bring this case as a class action under Rule 23(b)(2) and (b)(3) of the
Federal Rules of Civil Procedure on behalf of two classes:

Class (1): Families, Friends, Lawyers and Other Bill Payer Plaintiffs, defined as all
persons, corporations and organizations billed for telephone calls initiated by people who
presently are, have been or will be confined to a correctional facility operated by CCA.

Class (2): Prisoner Plaintiffs, defined as all persons who presently are, have been, or
will be incarcerated in correctional institutions operated by CCA.

35. The case meets all the requirements of Rule 23 of the Federal Rules of Civil
Procedure.

36. Each class is so numerous that joinder is impracticable. CCA incarcerates
approximately 73,000 individuals and constitutes, in itself, the fourth largest correctional system
in the country. Furthermore, every individual in CCA prisons has numerous family, friends
and/or legal counsel that seek or may seek telephone contact with the individual. As a result, the
number of people affected by the issues in this action number in the hundreds of thousands, far
too numerous to join in one suit.

37. Common questions of law and fact exist as to all class members and dominate those
questions that affect only individual members. These common questions of law and fact include
but are not limited to: (a) whether the defendants’ exclusive dealing agreements violate
plaintiffs’ rights to speech and association, access to courts, equal protection of law, and freedom
to contract guaranteed by the U.S. Constitution; (b) whether the defendants’ exclusive dealing

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agreements violate the statutory protections of the Sherman Anti-Trust Act and the
Communications Act; (c) whether the defendants’ exclusive dealing agreements are
unconscionable or constitute unjust enrichment or violate other statutory and common law
protections; (d) whether any purported security concerns unique to prisons requires the use of
such exclusive dealing agreements; (e) whether alternative agreements exist that could satisfy
purported security concerns; (f) whether the fees imposed by the defendants represent a fair
market value for the services or the exploitation of an illegal monopoly; (g) whether the
defendants are using the government’s special power of imprisonment for private gain; and (h)
whether the defendants’ conduct has created anti-competitive effects that restrict the market for
inmate-initiated phone calls or raise barriers to the entry of new participants to the market.

38. The claims of the plaintiffs are typical of the claims of the classes.

39. The plaintiffs will adequately and vigorously represent the interests of each class.
Furthermore, counsel knows of no conflicts among class members or between the attorneys and
class members.

40. A class action here is superior to other available means for the fair and efficient
adjudication of the claims herein, and will prevent the imposition of undue financial,
administrative and procedural burdens on the parties and Court that individual litigation would
impose. The class action provides an effective method for enforcing the rights of plaintiffs and
the class members they represent without unnecessary expense or duplication.

41. The plaintiff classes should be certified pursuant to Rule 23(b)(2) for determination of
liability because the defendants have acted on grounds generally applicable to the respective

classes, thus making class-wide injunctive relief and other equitable relief appropriate. The

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plaintiff class should be certified pursuant to Rule 23(b)(3) for determination of the damage
claims of class members.
STATEMENT OF FACTS

42. People who seek to speak to prisoners in CCA facilities can do so, but only under
severe restrictions. First, they can only receive phone calls initiated by inmates; they cannot
initiate phone calls themselves. Second, the inmate-initiated phone calls are subject to
restrictions on timing and identification, as well as restrictions on telephone service providers.
Most importantly, plaintiffs are prohibited from using telephone services other than those
established by the defendants’ exclusive dealing agreements, at the terms established under those
agreements. Plaintiffs have no choice but to use the single service that has a lock on the person
they seek to contact. Plaintiffs cannot use the numerous alternative options presently available.
They cannot use 1-800 or 1- 888 services, call-around services such as 10-10-811, debit cards
other than those provided by the sole-source contractor, or in some cases any debit card at all.

43. Persons paying for telephone contact with CCA inmates often have ongoing contracts
with carriers that provide varied options for telephone service. However, those services cannot
be used. Thus, persons paying for calls from inmates cannot take advantage of the numerous
options available to all other consumers of telephone service in the District of Columbia and
throughout the United States.

44. For collect telephone calls, the amount charged by defendants is for “operator
assisted” calls even though no live operator is involved in placing or managing the call. The
entire call is made and completed by computer. These spurious “operated assisted” calls
routinely cost five to eight times as much as “unassisted” calls. The debit cards purchased under
exclusive contract provide less value than other debit cards available to the general public.

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45. In addition, persons accepting collect calls are not given the same sevice or access to
service that is provided to persons receiving telephone calls from persons other than inmates.
The telephone company defendants refuse to respond to complaints or inquiries concerning
problems such as frequent disconnections raised by persons accepting collect calls from inmates.
Attempts to contact these defendants do not lead to a constructive response or an adjustment to a
bill. Rather, the customer service department has simply told the customer to take his or her
complaint to the prison.

46. The disconnections are especially problematic because if the inmate redials, the bill-
payer is subject to a new connection surcharge at the “operated assisted” rate, often in excess of
$2 for each connection.

47. Many of the debit cards sold are defective. The prisoner plaintiffs purchasing debit
cards often wait for weeks for the customer service department to replace a defective debit card.
Furthermore, the debit card system is often unavailable for the prisoner plaintiffs to use, and they
must resort to the collect calling system to speak with their family members or attorneys.

48. The defendants cannot provide any valid penological reason for imposing the most
expensive telephone system on the plaintiffs. In early 1996, the American Correctional
Association, the organization of prison and jail administrators throughout the United States,
adopted a Resolution on Excessive Phone Tariffs, which states as follows:

WHEREAS, correctional professionals have a fundamental responsibility to

encourage and support activities which foster the maintenance of family and

community ties between offenders and the free world;

THEREFORE BE IT RESOLVED, that correctional agencies should discourage

profiteering on tariffs placed on phone calls which are far in excess of the actual

cost of the call, and which could discourage or hinder family or community
contacts.

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Thus, the exclusive dealing agreements established by defendants are expressly contrary to
legitimate penological concerns such as maintaining family ties and increasing the probability of
successful reentry upon release.

49. Security functions such as call monitoring and blocking are not advanced by
exclusive dealing systems that arbitrarily charge bill payers the highest possible calling rate.
Security functions operate independently and can be effectuated no matter what type of
telephone system is used. The defendants can implement necessary security functions whether or
not a call is collect, a debit card from a different provider is used, and whether or not the
telephone company has an exclusive dealing agreement. The essential purpose of the telephone
system established by the defendants is not to achieve any valid penological goals, but instead to
enable the defendants to reap as great a profit as possible off the backs of persons trapped in a
captive audience without options available to other consumers.

50. The direct consequences of the exorbitant charges imposed on the recipients or
inmate-initiated calls are obvious: fewer and shorter calls resulting in less access for the inmates
to their family, counsel, and other bill payer plaintiffs and the class they represent. The system
restricts meaningful choices and confers an undeserved benefit to the defendants.

51. Plaintiff MARTHA WRIGHT is a 75-year-old grandmother on a fixed income. Her
long distance service company presently is Sprint; previously it was AT&T. Mrs. Wright is blind
and the one time she was able to go to Arizona to visit the grandson she raised, she needed to
bring her sister so she could safely move around. She has not seen her grandson in over a year.
She can only talk to the grandson she raised, ULANDIS FORTE, twice a month because it costs
$16.50 each time he calls. Mrs. Wright reports that her telephone bill averaged $144 a month. As
a result of these high bills, Mrs. Wright needed to request that her grandson call less often, Mrs.

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Wright also sends her grandson money to assist him in paying for debit cards. If Mrs. Wright
wants to speak with her grandson over the telephone she must either accept a collect call or assist
him in paying for debit cards through the exclusive telephone services contract operating at the
CCA facility that confines Mr. Forte. The defendants have eradicated all other choices for her.

52. Plaintiff DOROTHY WADE speaks to her son Charles Wade as often as she can.
Mrs. Wade has not seen her son for about one year. Once the collect calls from her son reach
$200, a block is placed on her telephone lines, preventing further collect calls, until she can pay
down the bill. The last time she reached the $200 block, Mrs. Wade was required to pay $129.00
before the company would lift the block. Mrs. Wade is still paying down a bill of $229. Her bills
have been as high as $300 for a month. Mrs. Wade presently contracts with MCI to provide long
distance service; previously she contracted with AT&T. Mrs. Wade sends her son money to
assist him in purchasing debit calling cards under the exclusive telephone services contract. If
Mrs. Wade wants to speak with her son over the telephone she must either accept a collect call or
assist him in paying for debit cards through the exclusive telephone services contract operating at
the CCA facility that confines Mr. Wade. The defendants have eradicated all other choices for
her.

53. Plaintiff ANNETTE WADE speaks to her husband, Mr. Charles Wade, as often as
she can. Mr. Wade calls using a debit card approximately three times a month. Mrs. Wade also
speaks with her husband at her mother-in-law’s home who has a little more money to accept
collect calls. The couple have four children. Mr. Wade speaks briefly with them approximately
twice a week in an effort to maintain a role in their upbringing. Mr. Wade has not seen his
children since he was shipped from the Northeast Ohio Correctional Center in Youngstown,
Ohio in approximately March of 1999. Mrs. Wade has not seen her husband for approximately

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one year. Previously, Mrs. Wade had a contract with AT&T to provide long distance service.
Bell Atlantic placed Mrs. Annette Wade on the “B Plan” when her telephone bill totaled $700.
On the “B Plan,” Mrs. Wade’s long distance service was canceled and she could not accept
collect calls. She paid $500 of the debt and was eventually released from the “B Plan.” However,
if her collect calls total $50 or more, her telephone is blocked from accepting further collect calls
until she can pay down her debt. Mrs. Annette Wade also sends her husband money to assist him
in purchasing debit calling cards. If Mrs. Wade wants to speak with her husband over the
telephone she must either accept a collect call or assist him in paying for debit cards through the
exclusive telephone services contract operating at the CCA facility that confines Mr. Wade. The
defendants have eradicated all other choices for her.

54. Plaintiff ETHEL PEOPLES is a retired mother on a fixed income. She gets to see
her son at the Northeast Ohio Correctional facility approximately three times a year. Previously,
she contracted with L.C.I. to provide long distance service; later she contracted with MCI. Now
she uses 10-10-811 to save money on her long distance telephone bills. Her son Earl Peoples
calls his mother on average once a week. When he calls collect they speak for fifteen minutes at
a cost of $9.75. She sends him money for things he needs and he can spend it on debit cards if he
needs to buy one. Mrs. Peoples does not write letters as it is physically difficult for her to do so.
If Mrs. Peoples wants to speak with her son over the telephone she must either accept a-collect
call or assist him in paying for debit cards through the exclusive telephone services contract
operating at the CCA facility that confines Mr. Peoples. The defendants have eradicated all other
choices for her.

55. Plaintiff EVELYN MINOR lives in Washington, D.C. and her brother is
incarcerated just a metro ride away, in the local Correctional Treatment Facility operated by

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CCA. She pays $1.75 for each local call. Ms. Minor estimates that her telephone bills are
approximately $50.00 more a month. If Ms. Minor wants to speak with her son over the
telephone she must accept a collect call through the exclusive telephone services contract
operating at CTF. The defendants have eradicated all other choices for her.

56. Plaintiff MATTIE LUCAS is a seventy-year-old mother on a limited income. Her
chosen long distance company is Sprint. She has had telephone bills as high as $500 and $700
dollars. The cost of a 15 minute collect call from her son Jackie Lucas, housed at CCA’s
Northeast Ohio Correctional Center is $9.75. She does not block her son’s calls as she cannot
visit with him and is desperately worried about his safety. Mrs. Lucas has only been able to visit
her son once since May 1997. The cost of the collect calls is difficult for her, and she is
contemplating asking her son to call less often because of the cost. If Mrs. Lucas wants to speak
with her son over the telephone she must accept prices set by the exclusive contract operating at
the CCA facility that confines Mr. Lucas. The defendants have eradicated all other choices for
her.

57. Plaintiff LAURIE LAMANCUSA last saw her fiancé in December 1999. In the past,
her chosen long distance providers have been MCI and Sprint. In the roughly one year between
February 6, 1999 and January 21, 2000, Ms. Lamancusa spent $2,590 in long distance collect
calls, solely from her fiancé locked in a CCA prison. Because of her high bills, when Ms.
Lamancusa’s telephone bill reached $222.45 in collect calls, a block for further collect calls was
placed on her line. At that point in time, Ms. Lamancusa began making payments in advance to
cover the cost of collect telephone calls. Ms. Lamancusa also sends her fiancé money to assist
with the purchase of debit cards. If Ms. Lamancusa wants to speak with her fiancé over the
telephone she must either accept a collect call or assist him in paying for debit cards through the

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exclusive telephone services contract operating at the CCA facility that confines him. The
defendants have eradicated all other choices for her.

58. Plaintiff WINSTON O. BLISS speaks with his brother Peter Bliss only on holidays,
birthdays, and rare occasions. Mr. Peter Bliss tries not to call too often because the cost is so
high. Mr. Winston Bliss has not seen his brother since the early 1990's. Mr. Winston Bliss’
chosen long distance company is MCI. If he wants to speak with his brother over the telephone
he must accept prices set by the exclusive contract operating at the CCA facility that confines
him, The defendants have eradicated all other choices for him.

59. Plaintiff SHEILA TAYLOR has chosen AT&T for her long distance company. She
speaks with her brother-in-law, Melvin Taylor, approximately five times a month. She accepted
his collect calls when he was in the Northeast Ohio Correctional Facility as well as now in the
Central Arizona Detention Facility. If Ms. Taylor wants to speak with her brother-in-law over the
telephone she must either accept a collect call or assist him in paying for debit cards through the
exclusive telephone services contract operating at the CCA facility that houses Mr. Taylor. The
defendants have eradicated all other choices for her.

60. Plaintiff GAFFNEY & SCHEMBER, P.C., has chosen Cable and Wireless for their
long distance company. Bell Atlantic supplies plaintiff's local telephone service and bills plaintiff
for a variety of additional charges, including collect calls from prison facilities. Because of its
substantial prisoners' rights practice, GAFFNEY & SCHEMBER, P.C. has a long-standing
policy to accept all incoming collect calls. Beginning in May 1997, when the District of
Columbia prisoner plaintiffs first arrived in the Northeast Ohio Correctional Center in
Youngstown, Ohio, GAFFNEY & SCHEMBER, P.C.'s telephone costs approximately
doubled, from an average of $300 to $500 per month to $700 to $900 per month. In August

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1997, for example, GAFFNEY & SCHEMBER, P.C. paid $660.12 in long distance collect
calls from the Northeast Ohio Correctional Facility alone. As a result of the substantial increase
in telephone bills, the firm altered its policy on accepting all collect calls. The firm imposed
conditions on prisoners calling and also changed the mechanism by which it answered incoming
calls. The effect of these measures was to reduce both the monthly phone bill and the prisoners
access to counsel. Plaintiff GAFFNEY & SCHEMBER, P.C. also accepts collect calls from the
Correctional Treatment Facility in Washington, D.C., which costs $1.75 for each ten-minute
client call.

61. Plaintiff M. ELIZABETH KENT, ESQ. accepts collect calls from the clients she
represents on criminal appeals. As a result of the high cost of communicating by phone with
people confined in CCA facilities, she has opted to communicate in writing rather than by phone
whenever possible, which makes it more difficult for her to adequately represent her clients.

62. Prisoner plaintiffs, ULANDIS FORTE, CHARLES WADE, EARL PEOPLES,
DARRELL NELSON, MELVIN TAYLOR, JACKIE LUCAS, and PETER BLISS have
initiated collect calls and purchased debit cards with the assistance of family members in an
effort to maintain contact with family, friends, lawyers, and prisoner assistance organizations.
They can only purchase the debit cards of the exclusive telephone services vendor. The value of
these debit cards is less than the value similar services available to the general public. The
defendants have eliminated all other choices from the prisoner plaintiffs. Moreover, the prisoner
plaintiffs have limited abilities to earn money. Prison jobs, when they are available, typically pay
in the range of twenty to sixty cents per hour, far less than the minimum wage and far less than

can support minimal telephone use under the terms imposed by the defendants.

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63. Plaintiff McCORMICK’s son was moved by CCA from a facility in Watonga,
Oklahoma, to the Otter Creek Correctional Facility in Hazard, Kentucky. Now, when her son
calls her from Kentucky, the charge is now $4.05 for the first minute and 55 cents per minute
thereafter. Ms. McCormick is being billed by MCI.

64. Plaintiff CROOM has found it difficult to visit her son, and plaintiff SARGENT, has
found it equally difficult to visit her husband because they are both incarcerated so far away from
home. The telephone calls from Watonga have been approximately $10 for a 30 minute call.
Plaintiff SARGENT has been unable because of the cost to speak with her husband from her
own home and has frequently been required to speak with him at her mother-in-law’s home to
save on the surcharge that is assessed for each call.

65. Plaintiff BROWN needs to pay approximately $10 to have a 30 minute telephone call
with his son and thus has been unable to speak to him more than twice a month. Prior to his
son’s transfer to the CCA facilities in Oklahoma and Tennessee, plaintiff was able to visit his
son because he was incarcerated in Indiana, much closer to home. Now, it is extremely costly
for plaintiff to visit his son and difficult to maintain a close relationship by letter. Thus, the
telephone calls have been the only meaningful way in which plaintiff BROWN has been able to
maintain family ties with his son.

66. Plaintiff LOCKLEAR has been billed $11.25 by defendant AT&T for a fifteen
minute telephone call with her husband. A one minute telephone call costs $4.54. Plaintiff tried
to change her long distance carrier to make her calls with her husband less expensive but was
informed that she could not do so and was required to deal exclusively with AT&T as the sole

carrier for telephone calls from her husband.

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67. Plaintiff EMMONS presently is charged $13.50 for a 30 minute collect call with Mr.
Bennett. She frequently is disconnected in the middle of the telephone calls and, although she
has tried to contact defendant GLOBAL TELECOMMICATIONS LINK, to obtain service for
this problem, there is nothing that has been done to correct this problem or to give her a credit for
the surcharge when another call must be placed by Mr. Bennett. A block is put on her telephone
every few months even though she has not been late in making her payments.

68. Because her fiancé is incarcerated so far from where she lives, plaintiff GORAY has
only been able to visit him once since his transfer to a CCA facility in Oklahoma. Although she
and her fiancé write daily, constant telephone communication has been crucial to the
development and maintenance of their relationship since his imprisonment. Letters are often
inadequate, lead sometimes to miscommunication and have a delayed response. Because of the
enormous financial drain these telephone charges have placed on plaintiff, she has been required
to work two jobs in order to get herself back on her feet.

69. Because of the lack of choice in telephone services from people in prison, attorneys
and others who provide aid and service to prisoners have been impeded in their work and
mission. These impediments reduce the access to the courts of people in prison for civil actions
as well as criminal matters in which liberty is at stake.

70. Many people in both the prisoner-plaintiff class and the bill-paying family .
memberclass have limited writing skills. Furthermore, prisoners are often imprisoned hundreds
or even thousands of miles away from their families so personal visits require substantial time
and resources. As a result, telephone communication is the most viable way for communication

between families and their loved ones.

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71. Communication with family members is a well-recognized and accepted principle of
rehabilitation for prisoners.

72. Communicating with parents who have erred is a widely recognized means to help
children to avoid mistakes of their own.

COUNT I
FIRST AMENDMENT CLAIMS
BY FAMILIES, LAWYERS AND OTHER BILL PAYER PLAINTIFFS

73. Plaintiffs reallege and incorporate herein paragraphs 1 through 72 of this complaint.

74. Under the First and Fourteenth Amendments to the United States Constitution, all
Plaintiff bill payers and the class members they represent have constitutionally protected rights
of freedom of speech and association, and rights to foster and maintain family relations. Under
the exclusive dealing agreements created by defendants, plaintiffs and other members of the class
are required to use telephone systems that burden more speech than necessary to serve
defendants’ legitimate governmental interests. The system provides poor quality service, unduly
restricts plaintiffs’ ability to receive phone calls, imposes baseless surcharges and is prohibitively
expensive. The system excludes alternative means of telephone communication that are no more
burdensome to defendants’ penological interests and are significantly less burdensome to
plaintiffs’ expressive and associational rights. As a result, the First Amendment rights of
plaintiffs and other members of the class have been unlawfully burdened and impaired.

75. The surcharges placed on inmate-initiated telephone calls impose an unlawful toll on
the exercise of plaintiff bill payers’ First Amendment rights. By mandating the acquisition of
significant revenue from the operation of the prison telephone systems, defendants have singled
out the friends and families of inmates for special tax treatment. Such treatment has not been
authorized by the state or local legislatures with whom defendant CCA has contracted to provide

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prison telephone services, and has a chilling effect on communication by plaintiffs and other
members of the class they represent. To the extent that defendant telephone companies’ rates for
inmate telephone service are higher than they would otherwise have been but for surcharges,
plaintiff bill payers are subject to a regulatory fee that bears no relation to the actual
administrative and enforcement costs incurred in facilitating inmate telephone service.

76. Defendants have implemented, enforced, encouraged, and sanctioned the actions,
policies, practices and/or customs of creating an exclusive telephone service franchise and
employing the collect-call only and debit card telephone systems that unlawfully burden the First
Amendment rights of bill payer plaintiffs and members of the plaintiff class they represent.

77. Defendants’ constitutional abuses and violations were and are directly and
proximately caused by the actions, policies, practices and/or customs devised, implemented,
enforced, encouraged, and sanctioned by defendants, including: (a) the creation of exclusive
dealing telephone contracts for the provision of inmate telephone services to CCA correctional
facilities thereby eliminating all competition for the provision of such services; (b) the
imposition and maintenance of the unduly restrictive inmate telephone systems; (c) the
institution of a special toll on the First Amendment rights of plaintiff bill payers in the form of
surcharges agreed upon by defendant CCA and defendant telephone companies; and (d) the
provision of inadequate telephone services to plaintiffs and the class members they represent,
further inhibiting them in the exercise of their First Amendment rights.

78. Defendants have acted with deliberate indifference to the First Amendment rights of
the bill payer plaintiffs and other members of the class they represent. As a direct and proximate
result of the aforesaid acts and omissions of defendants, the First Amendment rights of the bill
payer plaintiffs and other class members have been violated. By acting under color of State law

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to deprive the named bill payer plaintiffs and other class members of their First Amendment
rights, defendants are in violation of 42 U.S.C. § 1983, which prohibits the deprivation under
color of State law of rights secured under the Constitution and the laws of the United States.

79. Defendants’ actions, policies, practices and/or customs have directly and proximately
caused such constitutional abuses. Defendants’ telephone systems determine the ability of
plaintiffs and other members of the class to communicate with family members and others
incarcerated in CCA correctional facilities. Thus, a real and immediate threat exists that the
First Amendment rights of the bill payer plaintiffs and other class members will be violated by
defendants in the Pia Indeed, because defendants’ telephone systems determine the mode of
telephone Saniuubieation — and all communication for some class members — the bill payer
plaintiffs and other class members cannot alter their behavior to avoid future violations of their
constitutional and civil rights at the hands of defendants.

80. Plaintiffs and other members of the class have no adequate remedy at law and will
suffer serious and irreparable harm to their constitutional rights unless defendants are enjoined
from maintaining the present telephone systems.

COUNT I
FIRST AMENDMENT CLAIMS
BY PRISONER PLAINTIFFS

81. Plaintiffs reallege and incorporate herein paragraphs 1 through 72 of this complaint.

82. Under the First and Fourteenth Amendments to the United States Constitution, all
prisoner plaintiffs and the class members they represent have constitutionally protected rights of
freedom of speech and association.

83. Under the exclusive dealing agreements created by defendants, the inmate plaintiffs
and other members of the class are required to use telephone systems that burden more speech

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than necessary to serve defendants’ legitimate governmental interests and restricts access to the
courts. The system provides poor quality service, unduly restricts plaintiffs’ ability to make
phone calls, imposes baseless surcharges and is prohibitively expensive. The system excludes
alternative means of telephone communication that are no more burdensome to defendants’
penological interests, can equally serve defendants’ security concerns at little or no additional
cost, have negligible additional impact on the allocation of prison resources generally, and are
significantly less burdensome to plaintiffs’ expressive and associational rights. As a result, the
First Amendment rights of the inmate plaintiffs and other members of the class have been
unlawfully burdened and impaired.

84. Defendants have implemented, enforced, encouraged, and sanctioned the actions,
policies, practices and/or customs of creating exclusive telephone service agreements that limit
collect call and debit card options, and that unlawfully burdens the First Amendment rights of
prisoner plaintiffs and members of the plaintiff class they represent.

85. Defendants’ constitutional abuses and violations were and are directly and
proximately caused by the actions, policies, practices and/or customs devised, implemented,
enforced, encouraged, and sanctioned by defendants, including: (a) the creation of exclusive
dealing telephone contracts for the provision of inmate telephone services to CCA correctional
facilities thereby eliminating all competition for the provision of such services; (b) the
imposition and maintenance of the unduly restrictive inmate telephone systems; and (c) the
provision of inadequate telephone services to plaintiffs and the class members they represent,
further inhibiting them in the exercise of their First Amendment rights.

86. Defendants have acted with deliberate indifference to the First Amendment rights of
the prisoner plaintiffs and other members of the class they represent. As a direct and proximate

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result of the aforesaid acts and omissions of defendants, the First Amendment rights of the
prisoner plaintiffs and other class members have been violated. By acting under color of State
law to deprive the named prisoner plaintiffs and other class members of their First Amendment
rights, defendants are in violation of 42 U.S.C. § 1983, which prohibits the deprivation under
color of State law of rights secured under the Constitution and the laws of the United States.

87. Defendants’ actions, policies, practices and/or customs have directly and proximately
caused such constitutional abuses. Defendants’ telephone systems determine the ability of
prisoner plaintiffs and other members of the class to communicate with friends, family members
and lawyers while they are incarcerated in CCA correctional facilities. Thus, a real and
immediate threat exists that the First Amendment rights of the prisoner plaintiffs and other class
members will be violated by defendants in the future. Indeed, because defendants’ telephone
systems determine the mode of telephone communication — and all communication for some
class members — the prisoner plaintiffs and other class members cannot alter their behavior to
avoid future violations of their constitutional and civil rights at the hands of defendants.

88. Plaintiffs and other members of the class have no adequate remedy at law and will
suffer serious and irreparable harm to their constitutional rights unless defendants are enjoined
from maintaining the present telephone systems.

COUNT Ill
EQUAL PROTECTION CLAIMS

BY FAMILIES, LAWYERS, PRISONERS AND BILL PAYER PLAINTIFFS

89. Plaintiffs reallege and incorporate herein paragraphs 1 through 72 of this complaint.

90. Under the First and Fourteenth Amendments to the United States Constitution, the
family, prisoners, and bill payer plaintiffs and class members have constitutionally protected
rights of freedom of speech and association. They bring this claim against all defendants for

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violating those rights under the Equal Protection Clause of the Fourteenth Amendment, which
applies to District of Columbia residents through the Fifth Amendment of the United States
Constitution. Prisoner plaintiffs are similarly situated to prisoners in other correctional
institutions using a debit card system that provides value similar to that on the available to the
general public. All plaintiffs and the class members they represent have constitutionally
protected rights to be treated equally as similarly situated telephone customers.

91. Defendants have implemented and enforced actions, policies, practices and/or
customs of requiring, engaging in, and maintaining exclusive telephone service contracts
mandating the use of collect call-only and debit card telephone systems. These constraints and
charges unlawfully burden the plaintiffs’ First Amendment rights and are not imposed upon
other similarly situated telephone service customers. As a result, defendants’ policies, practices
and/or customs violate the Equal Protection Clause of the Fourteenth Amendment, which applies
to District of Columbia residents through the Fifth Amendment.

92. Defendant CCA, acting in concert and conspiracy with telephone company
defendants, has established discriminatory and excessive surcharges and rates for inmate
telephone calls, prohibited less costly calling options, and denied plaintiffs the same service
afforded other consumers of telephone services in the District of Columbia and throughout the
United States. Such policies and practices operate as a special discriminatory tax or fee and an
undue burden placed on persons who receive phone calls from prisoners, thus constituting an
invidious and unreasonable classification in violation of the equal protection clause of the
Fourteenth Amendment of the United States Constitution.

93. Defendants’ constitutional abuses and violations were and are directly and
proximately caused by the actions, policies, practices and/or customs devised, implemented,

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enforced, encouraged, and sanctioned by defendants, including: (a) the creation of exclusive
dealing telephone contracts for the provision of inmate telephone services to CCA correctional
facilities thereby eliminating all competition for the provision of such services; (b) the
imposition and maintenance of the unduly restrictive inmate telephone systems; (c) the
institution of a special toll on the First Amendment rights of plaintiff bill payers in the form of
surcharges agreed upon by defendant CCA and defendant telephone companies; and (d) the
provision of inadequate telephone services to plaintiffs and the class members they represent,
further inhibiting them in the exercise of their First Amendment rights.

94. Defendants have acted with deliberate indifference to the Fourteenth Amendment
rights of the bill payer plaintiffs and other members of the class they represent. As a direct and
proximate result of the aforesaid acts and omissions of defendants, the Fourteenth Amendment
rights of the bill payer plaintiffs and other class members have been violated. By acting under
color of State law to deprive the named bill payer plaintiffs and other class members of their
Fourteenth Amendment rights, defendants are in violation of 42 U.S.C. § 1983, which prohibits
the deprivation under color of State law of rights secured under the Constitution and the laws of
the United States.

95. Defendants’ actions, policies, practices and/or customs have directly and proximately
caused such constitutional abuses. Defendants’ telephone systems determine the ability of
plaintiffs and other members of the class to communicate with family members and others
incarcerated in CCA correctional facilities. Thus, a real and immediate threat exists that the
Fourteenth Amendment rights of the bill payer plaintiffs and other class members will be
violated by defendants in the future. Indeed, because defendants’ telephone systems determine
the mode of telephone communication — and all communication for some class members — the

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bill payer plaintiffs and other class members cannot alter their behavior to avoid future violations
of their constitutional and civil rights at the hands of defendants.

96. Plaintiffs and other members of the class have no adequate remedy at law and will
suffer serious and irreparable harm to their constitutional rights unless defendants are enjoined
from maintaining the present telephone systems.

COUNT IV
DUE PROCESS CLAIMS
BY FAMILY AND INMATE PLAINTIFFS

97. Plaintiffs reallege and incorporate herein paragraphs 1 through 72 of this complaint.

98. Under the First, Fifth and Fourteenth Amendments to the United States Constitution,
plaintiffs who are the parents, children, siblings, and spouses of persons incarcerated in CCA
correctional facilities have a liberty interest in and a constitutionally protected right of familial
association.

99. Under the exclusive telephone service agreements created by defendants, family
member and inmate plaintiffs are required to use telephone systems provides poor quality
service, unduly restricts plaintiffs’ ability to receive phone calls, imposes baseless surcharges and
is prohibitively expensive. The system excludes alternative means of telephone communication
that are no more burdensome to defendants’ penological interests and are significantly less
burdensome to plaintiffs’ expressive and associational rights. As a result, the First Amendment
rights of plaintiffs and other members of the class have been unlawfully burdened and impaired.

100. Defendants have implemented, enforced, encouraged, and sanctioned actions,
policies, practices and/or customs of creating an exclusive telephone service franchise and

employing telephone systems that unlawfully burden the Fifth and Fourteenth Amendment Due

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Process rights of the family member and inmate plaintiffs and other members of the class they
represent.

101. Defendants’ constitutional abuses and violations were and are directly and
proximately caused by the actions, policies, practices and/or customs devised, implemented,
enforced, encouraged, and sanctioned by defendants, including: (a) the creation of exclusive
dealing telephone contracts for the provision of inmate telephone services to CCA correctional
facilities thereby eliminating all competition for the provision of such services; (b) the
imposition and maintenance of the unduly restrictive inmate telephone systems; (c) the
institution of a special toll on the First Amendment rights of plaintiff bill payers in the form of
surcharges agreed upon by defendant CCA and defendant telephone companies; and (d) the
provision of inadequate telephone services to plaintiffs and the class members they represent,
further inhibiting them in the exercise of their Fifth and Fourteenth Amendment rights.

102. Defendants have acted with deliberate indifference to the Fifth and Fourteenth
Amendment Due Process rights of the family member and inmate plaintiffs and other members
of the class they represent. As a direct and proximate result of the aforesaid acts and omissions
of the defendants the Fifth and Fourteenth Amendment rights of plaintiffs and other class
members have been violated. By acting under color of State law to deprive the named plaintiffs
and other class members of their Fifth and Fourteenth Amendment rights, defendants are in
violation of 42 U.S.C. § 1983, which prohibits the deprivation under color of State law of rights
secured under the Constitution and the laws of the United States.

103. Defendants’ actions, policies, practices and/or customs have directly and
proximately caused such constitutional abuses. Defendants’ telephone systems determine the
ability of the family member and inmate plaintiffs and other members of the class they represent

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to associate with their family members who are incarcerated in CCA correctional facilities, and
to make important marital, parental, and familial decisions. Thus, a real and immediate threat
exists that the Fifth and Fourteenth Amendment Due Process rights of Plaintiff and other class
members will be violated by defendants in the future. Indeed, because defendants’ telephone
systems determine the mode of telephone communication — and all communication for some
class members — plaintiffs and other class members cannot alter their behavior to avoid future
violations of their constitutional and civil rights at the hands of defendants.

104. Plaintiffs and other members of the class have no adequate remedy at law and will
suffer serious and irreparable harm to their constitutional rights unless defendants are enjoined
from maintaining the present telephone systems.

COUNT V
DUE PROCESS CLAIMS
BY BILL PAYER PLAINTIFFS

105. Plaintiffs reallege and incorporate herein paragraphs 1 through 72 of this complaint.

106. Under the Fifth and Fourteenth Amendments of the United States Constitution, the
families, lawyers, other bill payers and class members have the right not to have their property
confiscated without due process of law.

107. Defendants have implemented and enforced actions, policies, practices and/or
customs of requiring, engaging in, and maintaining exclusive telephone service franchises and
mandating the use of collect call-only and debit card telephone systems. These agreements
unlawfully burden the bill payer plaintiffs’ First Amendment rights, impose on them exorbitant

rates for services, and prohibit the use of less costly alternatives for telephone calls by inmates

from CCA correctional facilities. Such agreements, and their effects, constitute a confiscation of

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plaintiffs’ property in violation of the Due Process Clause of the Fifth and Fourteenth
Amendments.

108. Defendants’ constitutional abuses and violations were and are directly and
proximately caused by the actions, policies, practices and/or customs devised, implemented,
enforced, encouraged, and sanctioned by defendants, including: (a) the creation of exclusive
dealing telephone contracts for the provision of inmate telephone services to CCA correctional
facilities thereby eliminating all competition for the provision of such services; (b) the
imposition and maintenance of the unduly restrictive inmate telephone systems; (c) the
institution of a special toll on the First Amendment rights of plaintiff bill payers in the form of
surcharges agreed upon by defendant CCA and defendant telephone companies; and (d) the
provision of inadequate telephone services to plaintiffs and the class members they represent,
further inhibiting them in the exercise of their Fifth and Fourteenth Amendment rights.

109. Defendants have acted with deliberate indifference to the Fifth and Fourteenth
Amendment rights of the bill payer plaintiffs and other members of the class they represent. As
a direct and proximate result of the aforesaid acts and omissions of defendants the Fifth and
Fourteenth Amendment rights of plaintiffs and other class members have been violated. By their
acts and omissions, defendants have acted under color of State law to deprive the named bill
payer plaintiffs and other class members of their Fifth and Fourteenth Amendment rights in
violation of 42 U.S.C. § 1983.

110. Defendants’ actions, policies, practices and/or customs have directly and
proximately caused such constitutional abuses. Defendants’ telephone systems determine the
ability of plaintiffs and other members of the class to communicate with their family members,
friends, and clients who are incarcerated in CCA correctional facilities, and also determine the

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terms under which that communication occurs. Thus, a real and immediate threat exists that the
Fifth and Fourteenth Amendment rights of the bill payer plaintiffs and other class members will
be violated by defendants in the future. Indeed, because defendants’ telephone systems
determine the mode of telephone communication — and all communication for some class
members —plaintiffs and other class members cannot alter their behavior to avoid future
violations of their constitutional and civil rights at the hands of defendants.

111. Plaintiffs and other members of the class have no adequate remedy at law and will
suffer serious and irreparable harm to their constitutional rights unless defendants are enjoined
from maintaining the present telephone systems.

COUNT VI
CLAIM OF UNCONSTITUTIONAL IMPAIRMENT OF CONTRACT
BY FAMILIES, LAWYERS AND OTHER BILL PAYER PLAINTIFFS

112. Plaintiffs reallege and incorporate herein paragraphs 1 through 72 of this complaint.

113. Under Article I § 10 of the United States Constitution, the family, counsel, and other
bill payer plaintiffs and class members have constitutionally protected rights not to have
contractual relationships impaired. Article I § 10 of the U.S. Constitution is made applicable to
the District of Columbia by D.C. Code §1-204.

114. At all relevant times herein, the bill payer plaintiffs and other class members have
had and continue to have ongoing contracts with particular telephone companies for the
provision of telephone services. These contracts specify the services to be provided, billing
rates, calling options, and other services. Under these agreements, the bill payer plaintiffs are
entitled to specified rates for collect call and other services.

115. Defendants’ actions, policies, practices and/or customs of requiring, engaging in,
and maintaining exclusive telephone service agreements and mandating the use of predetermined

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telephone systems by select companies unlawfully interferes with plaintiffs’ existing contracts
for telephone service. As a result of such interference, plaintiffs lose the benefit of those
contracts on each and every collect telephone call that they receive from an individual
incarcerated in a CCA correctional facilities, and are compelled to purchase these services from
a separate telephone company not of their selection. These restrictions and requirements
constitute a substantial impairment of plaintiffs’ contractual relationship with others in violation
of Article I, § 10 of the United States Constitution.

116. Defendants’ constitutional abuses and violations were and are directly and
proximately caused by the actions, policies, practices and/or customs devised, implemented,
enforced, encouraged, and sanctioned by defendants, including: (a) the creation of exclusive
dealing telephone contracts for the provision of inmate telephone services to CCA correctional
facilities thereby eliminating all competition for the provision of such services; (b) the
imposition and maintenance of the unduly restrictive inmate telephone systems; (c) the
institution of a special toll on the First Amendment rights of plaintiff bill payers in the form of
surcharges agreed upon by defendant CCA and defendant telephone companies; and (d) the
provision of inadequate telephone services to plaintiffs and the class members they represent,
further inhibiting them in the exercise of their Fifth and Fourteenth Amendment rights.

117. Defendants have acted with deliberate indifference to constitutional right to contract
of the bill payer plaintiffs and other members of the class they represent. As a direct and
proximate result of the aforesaid acts and omissions of defendants the rights of plaintiffs and
other class members to unimpaired freedom to contract have been violated. By their acts and

omissions, defendants have acted under color of State law to deprive the named bill payer

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plaintiffs and other class members of their Fifth and Fourteenth Amendment rights in violation of
Article I, § 10 of the United States Constitution.

118. Defendants’ actions, policies, practices and/or customs have directly and
proximately caused such constitutional abuses. Defendants’ telephone systems determine the
ability of plaintiffs and other members of the class to communicate with their family members,
friends, and clients who are incarcerated in CCA correctional facilities, and also determine the
terms under which that communication occurs. Thus, a real and immediate threat exists that
constitutional right to contract of the bill payer plaintiffs and other class members will be
violated by defendants in the future. Indeed, because defendants’ telephone systems determine
the mode of telephone communication — and all communication for some class members —
plaintiffs and other class members cannot alter their behavior to avoid future violations of their
constitutional and civil rights at the hands of defendants.

119. Plaintiffs and other members of the class have no adequate remedy at law and will
suffer serious and irreparable harm to their constitutional rights unless defendants are enjoined
from maintaining the present telephone systems.

COUNT VII
SHERMAN ACT CLAIMS
BY FAMILIES, LAWYERS AND OTHER BILL PAYER PLAINTIFFS

120. Plaintiffs reallege and incorporate paragraphs 1 through 72 of this complaint.

121. The defendants, acting jointly and in concert, contracted, combined and/or conspired
with each other and entered into exclusive dealing agreements regarding inmate telephone
service. These exclusive agreements restrict access of consumers who seek alternative means to
communicate with people confined in CCA facilities from using the competitive choices
generally available in the telephone market, and generate gross profits for the defendants. In

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adopting these agreements, the defendants have intentionally acquired and attempted to acquire
monopoly power in the market for inmate-initiated telephone services at CCA facilities.

122. The foregoing conduct of these defendants has produced adverse anti-competitive
effects within the market for inmate-initiated telephone calls in the District of Columbia and
other markets throughout the United States. Moreover, the conduct has had a substantial and
direct effect on interstate commerce and unreasonably restrained trade.

123. By entering the grossly profitable exclusive dealing agreements, the defendants have
all become participants in the market for inmate-initiated telephone calls. However, they have
not acted pursuant to any clearly articulated and affirmatively expressed state policy to displace
competition in the market for inmate-initiated telephone services in CCA facilities.

124. By virtue of the forgoing conduct, defendants have unlawfully monopolized and
attempted to monopolize telephone services in violation of §§ 1 and 2 of the Sherman Act, 15
.S.C.%5 2:

125. Asa result of the foregoing unlawful conduct, the plaintiffs and class have suffered
proximate injury, having paid unjustified, exorbitant and unreasonable charges for telephone
calls received from inmates and have been prevented from choosing other options of telephone
service for use in receiving telephone calls from inmates incarcerated in the CCA prisons.
Plaintiffs have been and continued to be injured in their business and property in violation of 15
U.S.C. §4.

126. Plaintiffs and other members of the class have no adequate remedy at law and will
suffer serious and irreparable harm unless defendants are enjoined from maintaining the present
telephone systems.

COUNT VIII

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CLAIMS UNDER THE COMMUNICATIONS ACT
BY FAMILIES, LAWYERS AND OTHER BILL PAYER PLAINTIFFS

127. Plaintiffs reallege and incorporate herein paragraphs 1 through 72 of this complaint.

128. The telephone company defendants are common carriers and defendant, CCA, is an
aggregator, subject to the terms of the Communications Act, 47 U.S.C. § 151 et seq.

Section 201(a) of the Communications Act provides: “It shall be the duty of every common
carrier engaged in interstate or foreign communication by wire or radio to furnish such
communication service upon reasonable request therefore.” Section 201(b) of the
Communications Act requires that all “charges, practices, classifications and regulations for and
in connection with such communication service shall be just and reasonable, and any such
charge, practice, classification, or regulation that is unjust or unreasonable is hereby declared to
be unlawful.”

129. The charges, practices, classifications and regulations which are imposed on plaintiffs
as authorized by the illegal arrangement between the defendants herein are “unjust” and
“unreasonable” in violation of § 201(b) of the Communications Act.

130. Section 202(a) of the Communications Act makes it unlawful for the defendants
herein “to make any unjust or unreasonable discrimination in charges, practices, classifications,
regulations, facilities, or services for or in connection with like communication service, directly
or indirectly, by any means or device, or to make or give any undue or unreasonable preference
or advantage to any particular person, class or persons, or locality, or to subject any particular
person, class of persons, or locality to any undue or unreasonable prejudice or disadvantage.”

The charges, practices, classifications, regulations, facilities, or services that are imposed on

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plaintiffs as authorized by the illegal arrangement between the violate § 202(a) of the
Communications Act.

131. Plaintiffs and other members of the class have no adequate remedy at law and will
suffer serious and irreparable harm unless defendants are enjoined from maintaining the present
telephone systems.

COUNT IX
CLAIMS UNDER DISTRICT OF COLUMBIA COMMON LAW
TORTIOUS INTERFERENCE WITH CONTRACT AND UNJUST ENRICHMENT
BY FAMILIES, LAWYERS AND OTHER BILL PAYER PLAINTIFFS

132. Plaintiffs incorporate herein paragraphs 1 through 72of this compliant.

133. At all relevant times, the plaintiffs and class members have had contracts with
particular telephone companies for local and long distance telephone services. These contracts
specify the services to be provided, billing charges, and calling options. Under these contracts,
the plaintiffs and class members have bargained for and are entitled to specified charges for
collect call and calling card services.

134. Defendants’ knew or should have known that plaintiffs and class members had
contracts for long distance and local telephone services. Defendants’ actions, policies, practices,
and/or customs of requiring, engaging in, and maintaining restrictive telephone systems,
unlawfully interferes with the plaintiffs’ and class members existing contracts for telephone
services. As a result of this interference, plaintiffs lose the benefit of their own contracts on each
and every collect call and debit card call they receive from individuals incarcerated in CCA
facilities. The plaintiffs and class members are compelled to purchase these services from

defendant telephone companies, which are not the telephone companies of their selection. The

actions taken by defendant CCA and defendant telephone companies creating an exclusive

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telephone services contract for collect calls and debit cards were and are the direct and proximate »
cause of the harm suffered by plaintiffs and class members.

135. By restricting the plaintiffs and class members to purchasing telephone services only
from defendant telephone companies — which are not telephone companies of the plaintiffs’
choice and which charge significantly more than the plaintiffs bargained for — the exclusive
dealing agreements conferred upon the defendants a benefit that they were not entitled to receive
at the expense of the plaintiffs and class members. By interfering with the contracts for telephone
services that plaintiffs contracted for, plaintiffs and ei members paid defendants for services
the defendants were not entitled to receive. As a direct result of the actions of the defendants, the
defendants were unjustly enriched. Plaintiffs and other members of the class have no adequate
remedy at law and will suffer serious and irreparable harm unless defendants are enjoined from
maintaining the present telephone systems.

COUNT X
CLAIMS OF D.C. COMMON LAW UNCONSCIONABILITY

BY FAMILIES, LAWYERS, PRISONERS AND OTHER BILL PAYER PLAINTIFFS

136. Plaintiffs incorporate herein paragraphs | through 72 of this complaint.

137. Defendants’ actions, policies, practices, and/or customs of requiring, engaging in,
and maintaining restrictive telephone systems, creates the sole means for prisoner plaintiffs,
plaintiffs and class members to have any telephone contact with their family members or clients.
If all plaintiffs and class members do not agree to accept the terms offered by the defendants,
they cannot have any telephone contact with their family members or clients. As a direct result of
the defendants actions, all plaintiffs and class members are without any meaningful choice about
whether or not to enter into the agreement to accept exorbitantly high collect calls and assist in

purchasing inflated cost debit cards.
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138. Additionally, the terms of the contract for services are unreasonably favorable to
defendant CCA and the defendant telephone companies. Defendant CCA and defendant
telephone companies are requiring payment for “operator assisted” calls without providing the
benefits of a live operator. The calls are placed, managed, and completed by a computer. No
human intervention is provided to assist with making the collect telephone call. The agreement
for the use a debit card is also highly favorable to the defendants and without providing any
additional service to all plaintiffs and class members.

139. The actions taken by defendant CCA and defendant telephone companies creating an
exclusive telephone services contract for collect calls and debit cards prevented all plaintiffs and
member class from any meaningful choice whether or not to accept the terms offered if they wish
to speak with their family members or clients. The actions taken by defendant CCA and
defendant telephone companies created terms of an agreement that was unreasonably favorable
to the defendants. As a result, the agreement created by the defendants and accepted by all
plaintiffs and class members is unconscionable.

140. Plaintiffs and other members of the class have no adequate remedy at law and will
suffer serious and irreparable harm unless defendants are enjoined from maintaining the present
telephone systems.

COUNT XI
CLAIMS UNDER THE D.C. CONSUMER PROTECTION PROCEDURES ACT
D.C. CODE § 28-3901 et. seq.
BY FAMILY, LAWYERS AND OTHER BILL PAYER PLAINTIFFS
141. Plaintiffs herein incorporate paragraphs | through 72 of complaints.

142. Defendants, by their actions, policies, practices, and/or customs of requiring,

engaging in, and maintaining restricted telephone systems, are making and enforcing

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unconscionable terms of sale under the D.C. Consumer Protection Procedures Act. The
defendants prevent plaintiffs and class members from having access to telephone services of
higher value than the ones being offered by the defendants. The telephone services offered by the
defendants are of a lesser value than the telephone services plaintiffs and class members may
obtain from other service providers. Defendant telephone companies charge plaintiffs and class
members for operator services not received and refuse to respond to complaints or inquiries
concerning problems raised by persons accepting collect calls from inmates. The debit cards
offered by the defendant telephone companies are often defective, and collect calls are often
disconnected. At other times the debit system is unavailable to the inmate plaintiffs and class
members. Additionally, the services offered by the defendants are much more expensive than
similar services available to the plaintiffs, inmate plaintiffs, and class members when they are not
subject to the exclusive dealing agreements.

143. Defendant CCA and defendant telephone companies have compelled plaintiffs and
class members to use the services of less value in order to speak with their incarcerated family
members with the knowledge that services of higher value are readily available to the plaintiffs
and class members. Defendants made and enforced unconscionable terms of sale in violation of
D.C. Code § 28-3904(r)(3).

144. In addition, the defendants have violated D.C. Code § 28-3904 by enforcing terms
that are unconscionable under common law.

145. Plaintiffs and other members of the class have no adequate remedy at law and will
suffer serious and irreparable harm unless defendants are enjoined from maintaining the present

telephone systems.

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COUNT XII
CLAIMS UNDER THE DISTRICT OF COLOMBIA ANTITRUST ACT
D.C. CODE §28-4501 et. seq.
BY FAMILIES, LAWYERS AND BILL PAYER PLAINTIFFS

146. Plaintiffs reallege and incorporate paragraphs | through 72 of this complaint.

147. The defendants, acting jointly and in concert, contracted, combined and/or
conspired with each other and entered into exclusive dealing agreements regarding inmate
telephone service. These exclusive agreements restrict access of consumers who seek alternative
means to communicate with people confined in CCA facilities from using the competitive
choices generally available in the telephone market.

148. The foregoing conduct of these defendants has produced adverse anti-competitive
effects within the market for inmate-initiated telephone calls in the District of Columbia and
have unreasonably restrained trade in interstate commerce, and constitute monopolization and
attempts to monopolize under D. C. Code §28-4501 et.seq.

149. By virtue of the forgoing conduct, defendants have violated D.C. Code §§ 28-4501,
28-4502, and § 28-4503. Plaintiffs are entitled to relief pursuant to D.C. Code §§ 28-4508 and
28-4509.

150. By virtue of the foregoing unlawful conduct, the plaintiffs and class have suffered
proximate injury, having paid unjustified, exorbitant and unreasonable charges for telephone
calls received from inmates and have been prevented from choosing other options of telephone
service for use in receiving telephone calls from inmates incarcerated in the CCA prisons.
Plaintiffs and other members of the class have no adequate remedy at law and will suffer serious

and irreparable harm unless defendants are enjoined from maintaining the present telephone

systems.

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WHEREFORE, plaintiffs respectfully request that the Court:

A.

B.

Certify this case as a class action.

Issue a declaratory judgment that the agreements, acts and practices alleged herein
are illegal.

Preliminarily and permanently enjoin the agreements, acts and practices found to
be illegal herein and order the defendants to provide to the plaintiffs and members
of the plaintiff class telephone service which is legal and proper; and issue such
other injunctive relief as will remedy the violations of plaintiffs’ rights herein and
assure that telephone service provided to inmates hereafter is just lawful, and non-
discriminatory.

Order the defendants to provide restitution to the plaintiffs and members of the
plaintiff class for all losses they have incurred herein.

Award to plaintiffs and members of the plaintiff class compensatory and punitive
damages, and treble damages under the Sherman Act and D.C. Code §§ 28-4508
and 28-4509.

Award to plaintiffs and members of the plaintiff class compensatory and uiitinre
damages to be determined at trial.

Award plaintiffs and the plaintiff class their attorneys’ fees, costs and expenses.

Provide for such other relief as is just and proper.

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Date: February 16, 2000

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